Case 1:Ol-cv-01209-.]DT-STA Document 59 Filed 04/28/05 Page 1 of 2 Page|D 73

lite <1
IN THE UNITED STATES DISTRICT COURTO
FoR THE WESTERN DISTRICT or TENNESSEE$“’ 9ng "` 90

EASTERN DIVISION 141 ’o/‘f 4 3/
/£
sTANLEY TUNE “f j ’FO O/ //f
and DEBORAH TUNE, ) /_~.;/1/30/8701/,;;,
) °/'J€ Gl'@r,»€
Plaintiffs, ) /V
)
VS. ) No. 1-01-1209-T
)
KARL GUTHKE and ROBERT LEACH, )
)
Defendants. )

 

ORDER GRANTING PLAINTIFF’S MOTION FOR CONTINUANCE

 

Plaintiffs Stanley Tune and Deborah Tune have moved the court to continue this case which
is set for trial on August 22, 2005. Plaintiffs’ previous counsel was allowed to withdraw and
Plaintiffs have retained new counsel. Plaintiffs argue that the trial date should be continued to allow
additional time to complete discovery and to provide Defendants with additional evidence Plaintiffs
further argue that a continuance will increase the likelihood of a pretrial settlement Accordingly,
this case is hereby reset for December 15, 2005.

IT IS SO ORDERED.

Q;,mw A. QMM\
JMES D. TODD

UNITED STATES DISTRICT JUDGE

;28’ C&,,Q/a,¢ 510~05"
DATE

Thls document entered on the docket shoot ln compliance

with aura sa and;or_ 19 (a) FncP an 06 'OQ as'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 1:01-CV-01209 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

ESSEE

 

Matthew D. Richardson

LITTLE SCHELLHAl\/[MER & RICHARDSON

123 S. Second St.
P.O. Box 1226
Poplar Bluff, MO 63902

Ricky L. Boren

H[LL BOREN

1269 N. Highland Ave.
Jackson7 TN 38303--053

Justin 1\/1. Ross

MARTIN TATE MORROW & MARSTON
22 North Front St.

Ste. 1 100

1\/lemphis7 TN 38103--118

Lee L. Piovarcy

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Honorable J ames Todd
US DISTRICT COURT

